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AO 450 (Rev.5/85) Judgment in a Civil Case




                                  United States District Court
                                               Northern District of Oklahoma


PHILIP SANDERS, an Individual, Husband,
and Personal Representative of the Estate of
Brenda Jean Sanders,
                                   Plaintiff                  JUDGMENT IN A CIVIL CASE
v.

TURN KEY HEALTH CLINICS, a limited                            Case Number: 4:17-CV-492 TS
liability company,
                                   Defendant




           IT IS ORDERED AND ADJUDGED


           that the Motion for Summary Judgment (Docket No. 194) is granted in part and the case
           is dismissed. Plaintiff’s first cause of action is dismissed with prejudice and Plaintiff’s
           second, third, and fourth causes of action are dismissed without prejudice.



March 29, 2023                                            BY THE COURT:
Date

                                                          _____________________________________
                                                          Ted Stewart
                                                          United States District Judge
